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  8                      UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
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11    JONATHAN ANTHONY MENDEZ,                Case No. ED CV 20-01293 VBF
                                                        (RAO)
12                      Petitioner,
13          v.                                JUDGMENT
14    WARDEN FRAUENHEIM,
15                      Respondent.
16

17
           IT IS HEREBY ADJUDGED that this action is dismissed without prejudice.
18

19
      DATED: September 18, 2020
20                                      ___________________________________
21
                                          HON. VALERIE BAKER FAIRBANK
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                                           Senior United States District Judge
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